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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
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                                          )
CONRAD SMITH, et al.,                     )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )
                                          ) Case No. 21-cv-02265 (APM)
DONALD J. TRUMP, et al.,                  )
                                          )
      Defendants.                         )
_________________________________________ )

                                 MEMORANDUM OPINION

                                                 I.

       In the court’s previous Memorandum Opinion and Order, ECF No. 179, the court dismissed

multiple claims against Defendant Brandon J. Straka—including the federal claims against him—

because Plaintiffs had not pleaded sufficient facts to establish his involvement in the alleged

conspiracy culminating in the events of January 6th, 2021. See Mem. Op. and Order, ECF No. 179,

at 12 (dismissing claims against Defendant Straka under 42 U.S.C. § 1985(1), 42 U.S.C. § 1986,

the District of Columbia Bias-Related Crimes Act, and common law negligence). The court held

that “[u]nlike other Defendants, Plaintiffs do not allege that Straka planned and prepared with

others to come to Washington, D.C., on January 6th. And, although Plaintiffs allege that Straka

encouraged unidentified individuals to attack the Capitol building . . . they do not contend that he

engaged in those acts as part of any group or organized effort. These allegations are not enough

to plausibly plead Straka as a participant in a § 1985(1) conspiracy.” Id. at 12–13.

       Plaintiffs have two active claims left against Straka—common law battery and assault. He

now moves to dismiss them, asserting that the court lacks supplemental jurisdiction or,

alternatively, should decline to exercise it. See Def. Brandon J. Straka’s Special Mot. to Dismiss
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Under 28 U.S.C. § 1367, ECF No. 206, at 1. The court agrees that it lacks supplemental

jurisdiction over the remaining claims and dismisses them, and this action, against Straka.

                                                 II.
       “[I]n any civil action of which the district courts have original jurisdiction, the district

courts shall have supplemental jurisdiction over all other claims that are so related to claims in the

action within such original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.” 28 U.S.C. § 1367(a). “A federal claim and a state

law claim form part of the same Article III case or controversy if the two claims derive from a

common nucleus of operative fact such that the relationship between [the federal] claim and the

state claim permits the conclusion that the entire action before the court comprises but one

constitutional case.” Lindsay v. Gov’t Emps. Ins. Co., 448 F.3d 416, 423–24 (D.C. Cir. 2006)

(citations and internal quotation marks omitted). Where “the same acts violate parallel federal and

state law, the common nucleus of operative facts is obvious.” Id. (quoting Lyon v. Whisman,

45 F.3d 758, 761 (3d Cir. 1995)). Put differently, if “[t]he facts necessary to prove a violation of

one are practically the same as those needed to prove a violation of the other,” the exercise of

supplemental jurisdiction is proper. Id. (quoting Pueblo Int’l, Inc. v. De Cardona, 725 F.2d 823,

826 (1st Cir. 1984)).

       In this case, Plaintiffs’ federal claims against Straka sounded in conspiracy, and the court

held that Plaintiffs’ contention that Straka participated in them was not plausible. What is left then

are Straka’s alleged acts of battery and assault. Those consist of participating in the attack and

yelling directions to others to take a protective shield from the hands of a Capitol police officer

trying to protect himself. Am. Compl., ECF No. 89, ¶ 127. These alleged acts of battery and

assault—really, aiding and abetting a battery and assault—do not derive from the same nucleus of


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operative facts as the federal conspiracies. The common law claims rest on individual acts that

occurred at a particular time and location at the U.S. Capitol on January 6th; by contrast, the

conspiracy claims against the defendants are premised on wide-ranging conduct, occurring over

months, by various actors who allegedly combined to prevent by force, intimidation, and threats

members of Congress, staffers, and U.S. Capitol Police officers from discharging their lawful

duties on January 6th. Id. ¶¶ 166–81. The alleged facts underlying the remaining common law

claims against Straka, and the proof required to establish them, are thus not “practically the same”

as those comprising the now-dismissed federal claims against him.

       The court therefore lacks supplemental jurisdiction as to the claims of battery and assault

against Straka. See, e.g., Taylor v. Dist. of Columbia, 626 F. Supp. 2d 25, 27–29 (D.D.C. 2009)

(finding no basis for supplemental jurisdiction over state-law claims and § 1983 claims, although

both related to lead-based paint hazard, because “the facts necessary to prove that the District

breached a duty of care to [plaintiffs] would provide little insight” into the case against the relevant

defendant); Ning Ye v. Holder, 667 F. Supp. 2d 103, 103–05 (D.D.C. 2009) (finding no

supplemental jurisdiction over a defamation claim for one defendant when the court had

jurisdiction over “federal defendants” for a variety of non-related federal claims); Singh v. George

Washington Univ., 368 F. Supp. 2d 58, 72 (D.D.C. 2005), rev’d on other grounds, 508 F.3d 1097

(D.C. Cir. 2007) (court lacked supplemental jurisdiction over a state defamation claim because the

facts needed to prove the defamation claim would provide no insight into the facts needed to prove

the federal discrimination claim).

                                                  III.

       Even when a court has the authority to retain supplemental jurisdiction over state law

claims, this does not mean that the court must hear them, as supplemental jurisdiction is a “doctrine



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of discretion.” United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966); Prakash v. Am.

Univ., 727 F.2d 1174, 1183 (D.C. Cir. 1984). A court “may decline to exercise supplemental

jurisdiction” if “the claim raises a novel or complex issue of State law”; “the claim substantially

predominates over the claim or claims over which the district court has original jurisdiction”; “the

district court has dismissed all claims over which it has original jurisdiction”; or “in exceptional

circumstances, there are other compelling reasons for declining jurisdiction.” 28 U.S.C. § 1367(c).

In deciding whether to assert supplemental jurisdiction over a state claim, the court should consider

judicial economy, convenience, and fairness to litigants. See Women Prisoners of the D.C. Dep’t

of Corr. v. District of Columbia, 93 F.3d 910, 920 (D.C. Cir. 1996); Lopez v. Council on Am.-

Islamic Rels. Action Network, Inc., 657 F. Supp. 2d 104, 115–16 (D.D.C. 2009), aff’d, 383 F.

App’x 1 (D.C. Cir. 2010).

        These factors weigh against maintaining jurisdiction over the common law claims against

Straka. This is already a complex case. Straka is but one of over two dozen named defendants,

against whom the primary claim is that they combined to obstruct or interfere with the Electoral

College vote count on January 6th through the use of force. In comparison, the claims against

Straka are self-contained and can be resolved more efficiently in a separate case. In addition, it is

simply unfair to keep Straka in a case of such complexity, when the bulk of it does not concern

him. There is also no prejudice to Plaintiffs as this case is in the beginning stages and can be re-

filed against Straka. See 28 U.S.C. § 1367(d); Artis v. Dist. of Columbia, 583 U.S. 71, 75 (2018)

(tolling the limitations period on state-law claims and providing a 30-day period for re-filing in

state court, if necessary).




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                                             IV.

       For the foregoing reasons, Defendant Brandon J. Straka’s Special Motion to Dismiss Under

28 U.S.C. § 1367, ECF No. 206, is granted. The court dismisses the battery and assault claims

against him without prejudice. A separate final, appealable order accompanies this Memorandum

Opinion.




Dated: October 13, 2023                                   Amit P. Mehta
                                                   United States District Court Judge




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